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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                            CASE NO.: 0:19-cv-62763- COOKE/HUNT

    WAYNE CAMPBELL,
    an individual,

               Plaintiff,

    v.
    HEALTHCARE REVENUE
    RECOVERY GROUP, LLC,
    AND INPHYNET SOUTH
    BROWARD, LLC.


            Defendants.
    _____________________________/

         JOINT SCHEDULING CONFERENCE REPORT AND DISCOVERY PLAN

          A telephonic meeting was held at 11:45 a.m. on December 6, 2019, and was attended
   by:
          Paul A. Herman, Esquire                          Counsel for Plaintiff
          Ernest H. Kohlmyer, III, Esquire                 Counsel for Defendant
          John Gaset, Esquire                              Counsel for Inphynet South
                                                           Broward, LLC

   Counsel for the parties have communicated regarding the scheduling issues contained herein
   and agree to its contents.


   I.     Recommended Case Management Track: The Parties recommend that this case be
          assigned to the Standard Track, based on the number of parties and complexity of the
          action.
   II.    Case Management Plan:
          A.        The likelihood of settlement:
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              The likelihood of settlement is unknown at this time.
        B.    The likelihood of appearance in the action of additional parties:
              At this time the likelihood of appearance in the action of additional parties is
              unlikely.
        C.    Proposed limits on time:
              (i)     The parties propose that the time to join other parties and to amend
                      pleadings shall occur by or before February 25, 2020.
              (ii)    The parties propose that all summary judgment, and other dispositive
                      motions shall be filed by May 21, 2020; and
              (iii)   The parties propose that discovery shall be completed by April 6, 2020.


        D.    Proposals for the formulation and simplification of issues:
              The parties agree to cooperate in working to simplify the issues, including the
              elimination of frivolous claims or defenses, if any, and further agree that any
              motion for summary judgment or partial summary judgment shall be filed on
              or before May 21, 2020.


        E.    The necessity or desirability of amendments to the pleadings:
              At this time, the parties do not anticipate any further amendments to the
              pleadings.


        F.    The possibility of obtaining admissions of fact and of documents,
              electronically stored information or things which will avoid unnecessary
              proof, stipulations regarding authenticity of documents, electronically
              stored information or things, and the need for advance rulings from the
              Court on admissibility of evidence:
              The Parties anticipate a reasonable possibility of obtaining admissions of facts
              and of documents.




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        G.    Suggestions for the avoidance of unnecessary proof and of cumulative
              evidence:
              The Parties agree to utilize discovery in order to avoid unnecessary proof and
              cumulative evidence.


        H.    Suggestions on the advisability of referring matters to a Magistrate Judge or
              master:
              At this time, the Parties do not agree to the referral of potentially dispositive
              matters to a Magistrate Judge or master.


        I.    A preliminary estimate of the time required for trial:
              Trial is expected to take approximately One to Two (1-2) days, and Plaintiff
              demands a trial by jury.


        J.    Requested date or dates for conferences before trial, a final pretrial
              conference, and trial:
              The Parties request trial for the week beginning October 5, 2020 and with a
              final pretrial conference to be held the week of September 18, 2020.


        K.    Any issues about: (i) disclosure, discovery, or preservation of electronically
              stored information, including the form or forms in which it should be
              produced; (ii) claims of privilege or of protection as trial-preparation
              materials, including -- if the parties agree on a procedure to assert those
              claims after production -- whether to ask the court to include their agreement
              in an order under Federal Rule of Evidence 502; and (iii) when the parties
              have agreed to use the ESI Checklist available on the Court’s website
              (www.flsd.uscourts.gov), matters enumerated on the ESI Checklist




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          The parties anticipate that certain materials will be subject to privilege and agree to
          confer with each other and attempt to resolve issues of privilege by stipulation or other
          agreement before involving the Court.
          Additionally, the parties anticipate issues about disclosure or discovery of
          electronically stored information. Electronically stored information shall be produced
          in .pdf format by electronic file transfer or on a CD or DVD, where possible, unless
          otherwise requested or agreed to be produced on a different medium or format. Excel
          spreadsheets and other data, if responsive and relevant, will be produced in native
          format or in a machine-readable format, such as .csv. If other types of documents do
          not render to a readable format in .pdf, the Parties will meet and confer to agree upon
          a reasonably useable format.


          L.     Any other information that might be helpful to the Court in setting the case
                 for status or pretrial conference:
                 The Parties have no other information that might be helpful to the Court at this
                 time.


   III.   This case was not previously filed and is not substantially related to any other case
          previously or currently pending before another court.


                         DISCOVERY PLAN PURSUANT TO RULE 26(f)
   I.     What changes should be made in the timing, form, or requirement for disclosures
          under Rule 26(a), including a statement of when initial disclosures were made or
          will be made;
          The parties do not believe any changes should be made to the form or requirement for
          disclosures under Rule 26(a). The parties agree to exchange such discovery by email
          with PDF attachment on or before December 31, 2019.




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   II.    The subjects on which discovery may be needed, when discovery should be
          completed, and whether discovery should be conducted in phases or be limited to
          or focused on particular issues;
          The parties do not believe that discovery should be conducted in phases or be limited
          to particular issues. Discovery should be completed by April 6, 2020


   III.   Any issues about disclosure or discovery of electronically stored information,
          including the form or forms in which it should be produced;
          The parties anticipate issues about disclosure or discovery of electronically stored
          information. Electronically stored information shall be produced in .pdf format by
          electronic file transfer or on a CD or DVD, where possible, unless otherwise requested
          or agreed to be produced on a different medium or format. Excel spreadsheets and
          other data, if responsive and relevant, will be produced in native format or in a
          machine-readable format, such as .csv. If other types of documents do not render to a
          readable format in .pdf, the Parties will meet and confer to agree upon a reasonably
          useable format.


   IV.    Any issues about claims of privilege or of protection as trial-preparation materials,
          including—if the parties agree on a procedure to assert these claims after
          production—whether to ask the court to include their agreement in an order;
          The parties anticipate that certain materials will be subject to privilege and agree to
          confer with each other and attempt to resolve issues of privilege by stipulation or other
          agreement before involving the Court.


   V.     What changes should be made in the limitations on discovery imposed under these
          rules or by local rule, and what other limitations should be imposed;
          The parties do not believe that any changes need be made to the limitations on
          discovery imposed under these rules or by local rules.
   VI.    Any other orders that the court should issue under Rule 26(c) or under Rule 16(b)
          and (c).

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         The parties do not believe that any special orders are warranted at this time.


   Dated this 6th day of December, 2019.


    /s/ Paul A. Herman                         /s/ Ernest H. Kohlmyer
    Paul A. Herman, Esq.                       Ernest H. Kohlmyer, III, Esq., LL.M.
    Florida Bar No. 405175                     Florida Bar No. 110108
    paul@consumeradvocatelaw.com               skohlmyer@shepardfirm.com
    Consumer Advocates Law Group,              Rachel M. Ortiz, Esq
    PLLC                                       Florida Bar No. 0083842
    4801 Linton Blvd., Ste. 11A-560            rortiz@shepardfirm.com
    Delray Beach, FL 33445                     Shepard, Smith, Kohlmyer & Hand,
    Telephone: 561-236-8851                    P.A.
    Facsimile: 561-431-2352                    2300 Maitland Center Parkway, Suite
    Attorneys for Plaintiff                    100
                                               Maitland, FL 32751
                                               Telephone (407) 622-1772
                                               Facsimile (407) 622-1884
                                               Attorneys for Defendant, HRRG

    /s/ John Gaset
    John Gaset III, Esq.,
    Florida Bar No. 98415
    john.gaset@nelsonmullins.com
    Nelson Mullins Broad and Cassel
    100 North Tampa Street, Suite 3500
    Tampa, FL 33602
    Telephone: 813-225-3020
    Facsimile: 813-225-3039
    Attorneys for Defendant, Inphynet South
    Broward, LLC




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                                 CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on
   December 6, 2019, via the Clerk of Court’s CM/ECF system which will provide electronic
   notice to all attorneys of record: Jibrael S. Hindi, Esquire of The Law Offices of Jibrael S.
   Hindi at jibrael@jibraellaw.com; Paul A. Herman, Esquire of Consumer Advocates Law
   Group, PLLC. at paul@consumeradvocatelaw.com; and Joel A. Brown, Esquire of Friedman
   & Brown, LLC at joel.brown@friedmanandbrown.com (Attorneys for Plaintiff).
                                             /s/ Ernest H. Kohlmyer, III
                                             Ernest H. Kohlmyer, III
                                             Florida Bar No.: 110108
                                             skohlmyer@shepardfirm.com
                                             Rachel M. Ortiz
                                             Florida Bar No. 083842
                                             rortiz@shepardfirm.com
                                             Shepard, Smith, Kohlmyer & Hand, P.A.
                                             2300 Maitland Center Parkway, Suite 100
                                             Maitland, Florida 32751
                                             Telephone (407) 622-1772
                                             Facsimile (407) 622-1884
                                             Attorneys for Defendant HRRG




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             Attachment A: Pretrial Deadlines, Pretrial Conference and Trial Date

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                             CASE NO.: 0:19-cv-62763- COOKE/HUNT

    WAYNE CAMPBELL,
    an individual,

              Plaintiff,

    v.
    HEALTHCARE     REVENUE
    RECOVERY GROUP, LLC,
    AND   INPHYNET   SOUTH
    BROWARD, LLC.


            Defendant.
    _____________________________/

   Joinder of parties and claims, and amendment of pleadings.

   February 25, 2020: Parties must furnish opposing counsel with a written list containing the names
   and addresses of all fact witnesses intended to be called at trial and only those witnesses listed will
   be permitted to testify unless good cause is shown and there is no prejudice to opposing party. The
   parties are under a continuing obligation to supplement discovery responses within ten days of
   receipt or other notice of new or revised information.
   April 6, 2020: All fact discovery must be completed.
   February 6, 2020: Plaintiff must furnish expert witness list to the Defendant, along with the
   summaries/reports required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses will be
   permitted to testify. Within the 14-day period thereafter, Plaintiff must make its experts available
   for deposition by Defendant.
   May 21, 2020: All dispositive and other pretrial motions not explicitly excluded by Local Rule
   7.1(a)(1), and accompanying memoranda of law must be filed. A minimum of 17 weeks is required
   for the Court to review dispositive motions prior to filing of the joint pretrial stipulation. If no
   dispositive motions will be filed, clearly note this fact in the Joint Scheduling Report.
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   March 2, 2020: Defendant must furnish expert witness list to the Plaintiff along with the
   summaries/reports required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses will be
   permitted to testify. Within the 14-day period thereafter, Defendant must make its experts available
   for deposition by Plaintiff.
   April 6, 2020: All expert discovery must be completed.
   August 10, 2020: All Daubert and Markman motions and accompanying memoranda of law must
   be filed. If a Daubert or Markman hearing is necessary, add that as an additional deadline at the
   bottom of Attachment A.
   March 23, 2020: Mediation must be completed. (The parties should select the earliest date to
   maximize resolution of the case in a manner that promotes client and judicial economy.)
   August 17, 2020: (a) Joint pretrial stipulation must be filed pursuant to Local Rule 16.1(e). The
   pretrial stipulation must include Plaintiff’s non-binding breakdown of damages with
   corresponding amounts; the witness lists must be pared down to those witnesses the parties intend
   to call at trial; and the exhibit lists must identify the witness introducing each exhibit. The parties
   must meet at least one month prior to the deadline for filing the pretrial stipulation to confer on the
   preparation of that stipulation. The Court will not accept unilateral pretrial stipulations, and will
   strike, sua sponte, any such submissions; and
   (b) Joint Summary of Respective Motions in Limine must be filed. The Summary must contain a
   cover page providing the style of the case and an index of the motions in limine. The Summary
   must also include for each evidentiary issue: (i) a one page motion identifying the evidence sought
   to be precluded at trial and citing legal authority supporting exclusion; and (ii) a one page response
   to the motion providing a statement of the purpose for which the challenged evidence would be
   offered and citing legal authority in support of admission of the challenged evidence. The parties
   must work together to prepare the Summary. Prior to submission of the Summary, the parties are
   encouraged to resolve evidentiary issues through stipulation.
   September 10, 2020:       Final proposed jury instructions (for jury trial) or findings of fact and
   conclusions of law (for bench trial) must be submitted. (A courtesy copy must be submitted to
   chambers at cooke@flsd.uscourts.gov, in Microsoft Word format). Each party’s trial witness list,
   with one-sentence synopsis and time needed for direct and cross examination; proposed voir dire
   questions; and deposition designations.
   October 5, 2020: Trial Date.
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                           Attachment B: Suggested Pretrial Deadlines
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                           CASE NO.: 0:19-cv-62763- COOKE/HUNT

    WAYNE CAMPBELL,
    an individual,

              Plaintiff,

    v.
    HEALTHCARE      REVENUE
    RECOVERY GROUP, LLC, AND
    INPHYNET SOUTH BROWARD,
    LLC.


             Defendants.
     _____________________________/


   31 weeks prior to pretrial stipulation          Joinder of parties and claims, and amendment of
                                                   pleadings.


   21 weeks prior to pretrial stipulation          Parties must furnish opposing counsel with a
                                                   written list containing the names and addresses
                                                   of all fact witnesses intended to be called at trial
                                                   and only those witnesses listed will be permitted
                                                   to testify.


   18 weeks prior to pretrial stipulation          All fact discovery must be completed.


   16 weeks prior to pretrial stipulation          Plaintiff must furnish expert witness list to the
                                                   Defendant, along with the summaries/reports
                                                   required by Fed. R. Civ. P. 26(a)(2), and only

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                                                 those expert witnesses will be permitted to
                                                 testify. Within the 14-day period thereafter,
                                                 Plaintiff must make its experts available for
                                                 deposition by Defendant.


   17 weeks prior to pretrial stipulation        All dispositive pretrial motions and memoranda
                                                 of law must be filed. A minimum of 17 weeks is
                                                 required for the Court to review dispositive
                                                 motion prior to filing of the joint pretrial
                                                 stipulation. If no dispositive motions will be
                                                 filed, clearly note this fact in the Joint
                                                 Scheduling Report.


   14 weeks prior to pretrial stipulation        Defendant must furnish expert witness list to the
                                                 Plaintiff along with the summaries/reports
                                                 required by Fed. R. Civ. P. 26(a)(2), and only
                                                 those expert witnesses will be permitted to
                                                 testify. Within the 14-day period thereafter,
                                                 Defendant must make its experts available for
                                                 deposition by Plaintiff.


   12 weeks prior to pretrial stipulation        All expert discovery must be completed. If a
                                                 Daubert or Markman hearing may be necessary,
                                                 the parties are to add that as an additional
                                                 deadline at the bottom of attachment A.


   11 weeks prior to pretrial stipulation        All   Daubert   and    Markman    motions    and
                                                 accompanying memoranda of law must be filed.
                                                 If a Daubert or Markman hearing is necessary, the




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                                                      parties are to add that as an additional deadline
                                                      at the bottom of attachment A.


   10 weeks prior to pretrial stipulation             Mediation must be completed. (The parties
                                                      should select the earliest date to maximize
                                                      resolution of the case in a manner that promotes
                                                      client and judicial economy.)
   5 weeks prior to the Friday before trial period    (a) Joint pretrial stipulation must be filed
                                                      pursuant to Local Rule 16.1(e). The pretrial
                                                      stipulation must include Plaintiff’s non-binding
                                                      breakdown of damages with corresponding
                                                      amounts and other relief sought. The parties
                                                      must meet at least one month prior to the
                                                      deadline for filing the pretrial stipulation to
                                                      confer on the preparation of that stipulation. The
                                                      Court   will   not   accept   unilateral   pretrial
                                                      stipulations, and will strike, sua sponte, any such
                                                      submissions; and
                                                      (b) Joint Summary of Respective Motions in
                                                      Limine must be filed. The Summary must
                                                      contain a cover page providing the style of the
                                                      case and an index of the motions in limine. The
                                                      Summary must also include for each evidentiary
                                                      issue: (i) a one page motion identifying the
                                                      evidence sought to be precluded at trial and
                                                      citing legal authority supporting exclusion; and
                                                      (ii) a one page response to the motion providing
                                                      a statement of the purpose for which the
                                                      challenged evidence would be offered and citing
                                                      legal authority in support of admission of the


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                                             challenged evidence. The parties must work
                                             together to prepare the Summary. Prior to
                                             submission of the Summary, the parties are
                                             encouraged to resolve evidentiary issues through
                                             stipulation.


   Friday before Calendar Call               Final proposed jury instructions (for jury trial) or
                                             findings of fact and conclusions of law (for bench
                                             trial) must be submitted. (A courtesy copy must be
                                             submitted to chambers at cooke@flsd.uscourts.gov, in
                                             Microsoft Word format). Each party’s trial witness
                                             list, proposed voir dire questions, and deposition
                                             designations.




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                  Attachment C: Magistrate Judge Jurisdiction Election Form


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                           CASE NO.: 0:19-cv-62763- COOKE/HUNT


    WAYNE CAMPBELL,
    an individual,

             Plaintiff,

    v.
    HEALTHCARE     REVENUE
    RECOVERY GROUP, LLC,
    AND   INPHYNET   SOUTH
    BROWARD, LLC.


             Defendant.

    _____________________________/

                  ELECTION TO JURISDICTION BY A UNITED STATES
            MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS


           In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to
    the above-captioned civil matter hereby jointly and voluntarily elect to have a United States
    Magistrate Judge decide the following motions and issue a final order or judgment with
    respect thereto:
           1. Motions for Costs                        Yes ____ No __X_
           2. Motions for Attorney’s Fees              Yes ____ No __X__
           3. Motions for Sanctions                    Yes ____ No __X_
           4. Motions to Dismiss                       Yes _____No __X__
           5. Motions for Summary Judgment             Yes_____ No __X__



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    _12.6.19_______    /s/ Paul A. Herman ______________________
    (Date)            (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



    12/06/19          /s/Ernest H. Kohlmyer___________________________
    (Date)            (Signature—Defendant’s Counsel or Defendant
                      HRRG

    _12.6.19_______   /s/John P. Gaset___________________________
    (Date)            (Signature—Defendant’s Counsel or Defendant
                      Inphynet




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